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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

MARY JILL ALLGEYER                                            Case No. 1:16-cv-1128

             Plaintiff,                                       McFarland, J.
                                                              Bowman, M.J.
      v.


CITY OF CINCINNATI, et al.,

             Defendants.


                          MEMORANDUM OPINION AND ORDER

      Plaintiff, proceeding pro se and in forma pauperis, filed a complaint against the

City of Cincinnati and two individuals. Pursuant to local practice, this case was referred

to the undersigned magistrate judge. See generally 28 U.S.C. § 636(b).          Presently

pending is an untimely “summary judgment” motion filed by Plaintiff. (Doc. 34). For

procedural reasons, the motion is denied.

      I.     Background

      This case was filed in December 2016 and the Court entered a calendar order on

March 30, 2017. After judgment was granted to the two individual defendants, the Court

vacated the original deadlines and entered an amended calendar order, which included

a dispositive motion deadline of January 4, 2019.       (Doc. 20).   The sole remaining

Defendant complied with that deadline and moved for summary judgment.

      More than a year ago, on April 1, 2019, the undersigned recommended that the

Defendant’s motion be granted and that this case be dismissed. (Doc. 30). Plaintiff filed

objections to that Report and Recommendation (“R&R”), to which the City filed a
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response. However, a final ruling on the objections and R&R has been delayed for

administrative reasons; namely, the recent transfer of the case to a new presiding district

judge.

         Ten and a half months after the deadline for filing dispositive motions, and nearly

eight months after the R&R recommending that judgment be granted in favor of the City

and that this case be dismissed, Plaintiff filed a new 41-page motion. Plaintiff’s motion is

captioned as a “motion for leave of court for plaintiff’s summary judgment on pleadings

granting relief.” (Doc. 34). Despite a caption implying that Plaintiff is seeking permission

to file her motion out-of-time, the contents of the motion give no such indication.

         II.   Analysis

         The Defendant City has filed a response based primarily upon the untimeliness of

the motion. The City additionally suggests that the motion “appears to relitigate claims

previously dismissed by this Court, discovery disputes already decided…, and legal

arguments which are the subject of Magistrate [Judge] Bowman’s April 1, 2019 Report

and Recommendation.” (Doc. 35 at 2). The City requests leave to flesh out these

arguments should this Court grant Plaintiff leave to consider her untimely motion. Plaintiff

filed no reply to the City’s response.

         Pursuant to Rule 16(b)(4), Fed. R. Civ. P., a scheduling order may be modified

“only for good cause and with the judge’s consent.” Plaintiff’s motion fails to show good

cause for filing her motion so many months beyond the court’s established deadline.

Without addressing the merits, the undersigned concludes that the motion should be

denied on procedural grounds. Even if Plaintiff had attempted to show “good cause” for

her failure to comply with the scheduling order, the undersigned still would deny the



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pending motion as untimely based upon the pending R&R that recommends summary

judgment to the Defendant.     The undersigned forewarns Plaintiff that any additional

motions will be denied on the same procedural grounds unless or until the presiding

district judge rejects the pending R&R,

      III.    Conclusion and Order

      Accordingly, IT IS ORDERED THAT:

      Plaintiff’s motion for leave of court (Doc. 34), herein construed as a motion seeking

leave to file an untimely motion for summary judgment, is DENIED.



                                                        s/ Stephanie K. Bowman
                                                       Stephanie K. Bowman
                                                       United States Magistrate Judge




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